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                         EXHIBIT D
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                       TRANSACTIS, INC.




        AMENDMENTS TO 2003 EQUITY INCENTIVE PLAN
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                                                Transactis, Inc.

                                         2003 Equity Incentive Plan

                                              Amendment No. 1


        The Company’s 2003 Equity Incentive Plan (“Plan”) is hereby amended as set forth below.

        Section 4(a) of the Plan is hereby deleted in its entirety and replaced with the following:

                “(a) Share Reserve. Subject to the provisions of Section 11 relating to
        adjustments upon changes in Common Stock, the Common Stock that may be issued
        pursuant to Stock Awards shall not exceed in the aggregate Two Million Four Hundred
        Forty Four Thousand Four Hundred Fifty Seven (2,444,457) shares of Common Stock.”

        Except as expressly modified by this amendment, the provisions of the Plan shall remain in full force
and effect in accordance with their terms.



                                                    * * *


Adopted by the Stockholders: March 15, 2007
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                                                Transactis, Inc.

                                         2003 Equity Incentive Plan

                                              Amendment No. 2


        The Company’s 2003 Equity Incentive Plan (“Plan”) is hereby amended as set forth below.

        Section 4(a) of the Plan is hereby deleted in its entirety and replaced with the following:

                “(a) Share Reserve. Subject to the provisions of Section 11 relating to
        adjustments upon changes in Common Stock, the Common Stock that may be issued
        pursuant to Stock Awards shall not exceed in the aggregate Three Million Four Hundred
        Forty Four Thousand Four Hundred Fifty Seven (3,444,457) shares of Common Stock.”

        Except as expressly modified by this amendment, the provisions of the Plan shall remain in full force
and effect in accordance with their terms.



                                                    * * *


Adopted by the Stockholders: March 17, 2008
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                                              Transactis, Inc.

                                        2003 Equity Incentive Plan

                                             Amendment No. 3


       The Company’s 2003 Equity Incentive Plan (“Plan”) is hereby amended as set forth below.

          1. Section 4(a) of the Plan is hereby deleted in its entirety and replaced with the following:

              “(a) Share Reserve. Subject to the provisions of Section 11 relating to adjustments upon
       changes in Common Stock, the Common Stock that may be issued pursuant to Stock Awards shall
       not exceed in the aggregate ten million nine hundred forty five thousand (10,945,000) shares of
       Common Stock.”



          2. Section 6(h) of the Plan is hereby deleted in its entirety and replaced with the following:

                “(h) Termination of Continuous Service. In the event an Optionholder’s Continuous
       Service terminates (other than upon the Optionholder’s death or Disability), the Optionholder may
       exercise his or her Option (to the extent vested) but only within such period of time ending on the
       earlier of (i) the date 90 days following the termination of the Optionholder’s Continuous Service (or
       such longer or shorter period specified in the Option Agreement), or (ii) the expiration of the term of
       the Option as set forth in the Option Agreement; provided that individual Option Agreements may
       specify otherwise. If, after termination, the Optionholder does not exercise his or her Option within
       the time specified herein or in the Option Agreement, then the Option shall terminate and be forfeit
       in its entirety.”



          3. Section 11(d)(i) of the Plan is hereby deleted in its entirety and replaced with the following:

               “(i) If the Continuous Service of a Participant is either involuntarily terminated without
       Cause or is voluntarily terminated for a Good Reason on or within 60 days after the date of a Change
       of Control under Section 11(c) of the Plan, then the vesting of such Participant’s Stock Award at the
       time of the Change of Control (and, if applicable, the time during which such Stock Award may be
       exercised) shall be accelerated to include an additional twelve (12) months of vesting.”



                                                   * * *


Adopted by the Stockholders: January 29, 2009
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                                              Transactis, Inc.

                                        2003 Equity Incentive Plan

                                             Amendment No. 4


       The Company’s 2003 Equity Incentive Plan (“Plan”) is hereby amended as set forth below.


          1. Section 4(a) of the Plan is hereby deleted in its entirety and replaced with the following:

                       “(a) Share Reserve. Subject to the provisions of Section 11 relating to
       adjustments upon changes in Common Stock, the Common Stock that may be issued
       pursuant to Stock Awards shall not exceed in the aggregate one million five hundred ninety
       thousand two hundred seventy nine (1,590,279) shares of Common Stock.”



                                                   * * *


Adopted by the Stockholders: August 24, 2010
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                                             Transactis, Inc.

                                       2003 Equity Incentive Plan

                                            Amendment No. 5



       The Company’s 2003 Equity Incentive Plan (“Plan”) is hereby amended as set forth below.


         1. Section 4(a) of the Plan is hereby deleted in its entirety and replaced with the following:

                       “(a)     Share Reserve. Subject to the provisions of Section 11 relating to
       adjustments upon changes in Common Stock, the Common Stock that may be issued pursuant to
       Stock Awards shall not exceed in the aggregate two million, four hundred fifty thousand, six
       hundred and fifty (2,450,650) shares of Common Stock.”




                                                  * * *


Adopted by the Stockholders: November 17, 2010
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                                         Transactis, Inc

                                  2003 Equity Incentive Plan

                                       Amendment No. 6



The Company’s 2003 Equity Incentive Plan (“Plan”) is hereby amended as set forth below:

1.      Section 11(d)(i) of the Plan is hereby deleted in its entirety and replaced with the
following:

        “(i) If the Continuous Service of a Participant is either involuntarily terminated without
Cause or is voluntarily terminated for a Good Reason as the result of or any time prior to the first
anniversary after the date of a Change of Control under Section 11(c) of the Plan, then the
vesting of such Participant’s Stock Award at the time of the Change of Control (and, if
applicable, the time during which such Stock Award may be exercised) shall be accelerated to
include all additional options subject to vesting under the Stock Award.”

        “(ii) If a Participant continues to remain employed by the Company or its successor for a
period up to the first anniversary after the date of a Change of Control under Section 11(c) of the
Plan (“First Anniversary”), then the vesting of such Participant’s Stock Award at the First
Anniversary (and, if applicable, the time during which such Stock Award may be exercised) shall
be accelerated to include all additional options subject to vesting under the Stock Award.”


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Adopted by the Board of Directors:        October 25, 2011

Adopted by the Stockholders:              October 26, 2011
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